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 Attorney or Party Name, Address, Telephone & FAX                             FOR COURT USE ONLY
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                                                                                                           CLERK U.S. BANKRUPTCY COURT
                                                                                                           Central District of California
                                                                                                           BY francis DEPUTY CLERK




                                                                                                 CHANGES MADE BY COURT
     Attorney for Movant
     Movant appearing without an attorney

                                          UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

 In re:                                                                       CASE NO.: 2:17-bk-19548-NB

 LAYFIELD & BARRETT, APC,                                                     CHAPTER: 11

                                                                                   ORDER GRANTING IN PART AND
                                                                                CONTINUING HEARING RE: MOTION FOR
                                                                                   RELIEF FROM THE AUTOMATIC
                                                                                     STAY UNDER 11 U.S.C. § 362
                                                                                         (REAL PROPERTY)

                                                                              DATE: February 13, 2018
                                                                              TIME: 10:00 a.m.
                                                                              COURTROOM: 1545 (Hon. Neil W. Bason)
                                                                              PLACE: 255 E. Temple Street, Los Angeles, CA 90012

                                                                              Continued hearing:
                                                                              DATE: May 22, 2018
                                                                              TIME: 10:00 a.m.
                                                                              Ctrm: 1545
                                                              Debtor(s).

 Movant: WELLS FARGO BANK, National Association



1. The Motion was:                  Opposed               Unopposed                Partially Settled by stipulation

2. The Motion affects the following real property (Property):

    Street address:        2720 Homestead Road
    Unit/suite number:     Suites 210 & 220
    City, state, zip code: Park City, Utah 84098

    Legal description or document recording number (including county of recording):

          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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      APNs TCVC-2-210 & TCVC-2-220, Deed of Trust recorded in Summit County Utah Recorder on 4/24/2015,
      Instrument No. 01017285, Book No. 2289, Page No. 1615

           See attached page.

3. The Motion is granted under:
      a.         11 U.S.C. § 362(d)(1)
      b.         11 U.S.C. § 362(d)(2)
      c.         11 U.S.C. § 362(d)(3)
      d.         11 U.S.C. § 362(d)(4). The filing of the bankruptcy petition was part of a scheme to hinder, delay, or defraud
                 creditors that involved:
           (1)        The transfer of all or part ownership of, or other interest in, the Property without the consent of the
                      secured creditor or court approval; and/or
           (2)        Multiple bankruptcy cases affecting the Property.
           (3)        The court        makes      does not make         cannot make
                      a finding that the Debtor was involved in this scheme.
           (4) If recorded in compliance with applicable state laws governing notices of interests or liens in real property, this
               order shall be binding in any other case under this title purporting to affect the Property filed not later than 2
               years after the date of the entry of this order by the court, except that a debtor in a subsequent case under
               this title may move for relief from this order based upon changed circumstances or for good cause shown,
               after notice and a hearing. Any federal, state or local government unit that accepts notices of interests or
               liens in real property shall accept any certified copy of this order for indexing and recording.

4.         As to Movant, its successors, transferees and assigns, the stay of 11 U.S.C. § 362(a) is:
      a.         Terminated as to the Debtor and the Debtor’s bankruptcy estate.
      b.         Modified or conditioned as set forth in item 18 below.
      c.         Annulled retroactively to the bankruptcy petition date. Any postpetition acts taken by Movant to enforce its
                 remedies regarding the Property do not constitute a violation of the stay.

5.         Movant may enforce its remedies to foreclose upon and obtain possession of the Property in accordance with
           applicable nonbankruptcy law, but may not pursue any deficiency claim against the Debtor or property of the
           estate except by filing a proof of claim pursuant to 11 U.S.C. § 501.

6.         Movant must not conduct a foreclosure sale of the Property before obtaining a further order from this court.

7.         The stay shall remain in effect subject to the terms and conditions set forth in the Adequate Protection Agreement
           contained within this order.

8.         In chapter 13 cases, the trustee must not make any further payments on account of Movant’s secured claim after
           entry of this order. The secured portion of Movant’s claim is deemed withdrawn upon entry of this order without
           prejudice to Movant’s right to file an amended unsecured claim for any deficiency. Absent a stipulation or order to
           the contrary, Movant must return to the trustee any payments received from the trustee on account of Movant’s
           secured claim after entry of this order.

9.         The co-debtor stay of 11 U.S.C. § 1201(a) or § 1301(a) is terminated, modified or annulled as to the co-debtor, as
           to the same terms and conditions as to the Debtor.

10.        The 14-day stay as provided in FRBP 4001(a)(3) is waived.

11. This order is binding and effective despite any conversion of this bankruptcy case to a case under any other chapter
    of the Bankruptcy Code.


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12. Movant, or its agents, may, at its option, offer, provide and enter into a potential forbearance agreement, loan
    modification, refinance agreement or other loan workout or loss mitigation agreement. Movant, through its servicing
    agent, may contact the Debtor by telephone or written correspondence to offer such an agreement.
13. Upon entry of this order, for purposes of Cal. Civ. Code § 2923.5, the Debtor is a borrower as defined in Cal. Civ.
    Code § 2920.5(c)(2)(C).
14.         A designated law enforcement officer may evict the Debtor and any other occupant from the Property regardless
            of any future bankruptcy case concerning the Property for a period of 180 days from the hearing of this Motion
      (a)        without further notice.
      (b)        upon recording of a copy of this order or giving appropriate notice of its entry in compliance with applicable
                 nonbankruptcy law.
15.         This order is binding and effective in any bankruptcy case commenced by or against the Debtor for a period of
            180 days, so that no further automatic stay shall arise in that case as to the Property.
16.         This order is binding and effective in any bankruptcy case commenced by or against any debtor who claims any
            interest in the Property for a period of 180 days from the hearing of this Motion:
      (a)        without further notice.
      (b)        upon recording of a copy of this order or giving appropriate notice of its entry in compliance with applicable
                 nonbankruptcy law.
17.         This order is binding and effective in any future bankruptcy case, no matter who the debtor may be
      (a)        without further notice.
      (b)        upon recording of a copy of this order or giving appropriate notice of its entry in compliance with applicable
                 nonbankruptcy law.
18.        Other (specify): (a) Relief is partially granted to allow Movant only to record its Notice of Default regarding the
      Property; and (b) the hearing is continued to May 22, 2018 at 10:00 a.m. The relief granted herein is without prejudice
      to the Movant seeking further relief from stay with respect to the Property or to the Trustee in seeking to avoid and
      recover the transfer of the Property for the benefit of the estate.



AGREED & ACCEPTED:

PACHULSKI STANG ZIEHL & JONES LLP

    /s/ Malhar S. Pagay
By: ______________________________
    MALHAR S. PAGAY
    Attorneys for Richard M. Pachulski,
    Chapter 11 Trustee

                                                                             ###




                    Date: February 15, 2018




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